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     Kelly M. Politte, pro hac vice
1    Colorado Bar No. 40402
     Politte Law Offices, LLC
2    700 N. Colorado Blvd., #182
     Denver, CO 80206
3    Tel: (303) 261-8044

4    Alexandra Eaker Pérez
     California Bar No. 265318
5    Eaker Pérez Tax Law
     925 B Street, STE 605
     San Diego, CA 92101
6    Tel: (619) 348-5944
7    Attorneys for Kelly M. Politte as the Personal
     Representative of the Estate of Robert A. Politte
8    and Ted R. Politte as the Personal Representative
     of the Estate of Robert A. Politte
9
                            UNITED STATES DISTRICT COURT
10
                          SOUTHERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,                   Case No. 17-CV-00515-AJB-WVG
12
            Plaintiff,
13   v.
14   RAJMP, INC.; JOAN M. POLITTE;               RESPONSE TO UNITED STATES’
     MERRILL LYNCH BUSINESS                      MOTION TO USE DEPOSITIONS
15   FINANCIAL SERVICES, INC.;                   FROM PRIOR ACTIONS AS IF
     CHICAGO TITLE COMPANY; TBC                  TAKEN IN THIS ACTION BY
16   CORPORATION; SC TELECOM,                    DEFENDANTS KELLY M.
     LLC; WELLS FARGO BANK, N.A.;                POLITTE AS PERSONAL
17   PACIFIC WESTERN BANK;                       REPRESENTATIVE OF THE
     OUTFRONT MEDIA, INC.; HALLE                 ESTATE OF ROBERT A. POLITTE
18   PROPERTIES, L.L.C.; POFACO, INC.;           AND TED R. POLITTE AS THE
     COUNTY OF SAN DIEGO; MIDAS                  PERSONAL REPRESENTATIVE
19   REALTY CORPORATION; KELLY                   OF THE ESTATE OF ROBERT A.
     M. POLITTE as the Personal                  POLITTE
     Representative of the ESTATE OF
20   ROBERT A. POLITTE; TED R.
     POLITTE as the Personal
21   Representative of the ESTATE OF
     ROBERT A. POLITTE,
22
            Defendants.
23

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                                                 i
     CO-PERSONAL REPRESENTATIVES’ RESPONSE TO UNITED STATES’ MOTION TO USE DEPOSITIONS
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1           Defendants Kelly M. Politte as Personal Representative of the Estate of Robert A.
2    Politte and Ted R. Politte as Personal Representative of the Estate of Robert A. Politte

3    (collectively, the “Co-Personal Representatives”), by and through counsel, submit this

4    Response to United States’ Motion to Use Depositions from Prior Actions as if Taken
5    in This Action.

6           In support thereof, the Co-Personal Representatives state as follows:

7                                      INTRODUCTION

8           The United States seeks what amounts to a broad advisory opinion by this Court

9    that it can “use” certain prior depositions in other litigation in this action. The request

10   does not specify which depositions it wants to use, how it wants to use them, or what

11   discovery it wants to allow or disallow as a result of this motion. Instead, the United

12   States opines that, if this motion were granted, “Plaintiff would have confidence that the

13   prior depositions of unavailable witnesses could be used under Federal Rule of Civil

14   Procedure 32(a)(4) . . . .” As important as the emotional well-being of government

15   counsel may be, the Court and the parties would be better served by ruling on actual

16   controversies as they arise. Accordingly, the United States’ Motion should be denied for

17   three reasons. First, it is unripe. Second, it appears calculated to disrupt the limitations

18   placed on discovery agreed upon by the parties. Third, the government’s

19   decontextualized assertions of identity as to issues and parties are inaccurate.

20          In addition to the following, the Co-Personal Representatives incorporate the

21   arguments made in Joan Politte’s Memorandum of Points & Authorities in Opposition

22   to the United States’ Motion to Use Depositions From Prior Actions (ECF No. 216),

23   filed in this action.

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     CO-PERSONAL REPRESENTATIVES’ RESPONSE TO UNITED STATES’ MOTION TO USE DEPOSITIONS
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1                                         ARGUMENT
        1.      The Motion is Unripe.
2
             For common-sense reasons, courts tend to limit their decisions to those which
3
     resolve live disputes and present controversies. Indeed, the Rules of Civil Procedure and
4
     Rules of Evidence are crafted with this in mind. For example, Fed. R. Civ. P. 26(c)
5
     allows the Court to enter orders limiting discovery where circumstances dictate such
6
     discovery will be oppressive, expensive, or unnecessary. Fed. R. Ev. 804(b)(1) sets forth
7
     a number of considerations when prior testimony may be admitted as an exception to
8
     the hearsay rule, and the Court allows the parties to submit motions in limine to resolve
9
     specific, contested evidentiary issues to streamline the presentation of witnesses and
10
     exhibits before a jury. The United States here seeks nothing of the sort. It acknowledges
11
     that it does not seek any limitations on either side’s depositions, but simply seeks the
12
     Court’s reassurance that, if a contested evidentiary issue arises in the future, the United
13
     States will be successful.
14
             The government cites no authority in which a request of this breadth framed at
15
     this level of abstraction was granted. To the contrary, the cases upon which the
16
     government relies were all substantially more limited in scope. See Hub v. Sun Valley
17
     Co., 682 F.2d 776, 778 (9th Cir. 1982) (proponent of evidence sought admission of a
18
     specific deposition of a specific official to aid claim of employment discrimination);
19
     Illinois Tool Works, Inc. v. MOC Prod. Co., No. 09-CV-1887 JLS MDD, 2012 WL
20
     3561984, at * 4 (S.D. Cal. Aug. 17, 2012) (deciding a pretrial motion in limine which
21
     identified a specific deposition and a specific use); Brighton Collectibles, Inc. v.
22
     Coldwater Creek Inc., No. 06-CV-01848-H (POR), 2009 WL 10671818, at *8 (S.D. Cal.
23
     Apr. 22, 2009) (adjudicating a Fed. R. Civ. P. 59 motion for new trial challenging
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     CO-PERSONAL REPRESENTATIVES’ RESPONSE TO UNITED STATES’ MOTION TO USE DEPOSITIONS
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1    admission of prior deposition testimony by a specifically identified expert witness).
2             If, as this case develops, the government asks to “use” a particular deposition in a

3    particular way, Defendants can meaningfully respond, and this Court can reach a

4    reasoned conclusion. As it is now though, the government is attempting to convert
5    federal motions practice into a forum to resolve a rudderless set of talking points. The

6    result is an inefficient use of the Court’s time and the parties’ resources. (See, e.g., Mot.

7    at 4, n. 2 (adding editorial observations which are “not directly related to this motion”));
8    see also Maxus Liquidating Trust v. YPF, et al., Nos. 18-50489, 16-11501, 2019 WL

9    2581609, *2 (Bkrtcy. D. Del. June 24, 2019) (held that request to use depositions was

10   unripe and premature where defendants had not informed the other party or court which
11   depositions they were seeking to use, whether the deponents are unavailable to be re-

12   deposed, or indicated which portions of the deposition transcripts they would like to

13   use).
14       2.      The Motion is an attempt to subvert the discovery limitations.

15            Depositions in this case are presumptively limited to ten per side under Fed. R.

16   Civ. P. 30. The government has not attempted to depose any witnesses yet, nor has it

17   engaged in any meaningful conferral with Defense counsel regarding which witnesses it

18   plans to depose and when.1 The government now asserts that, unless buoyed by the

19   assurance that the Court would side with it on future potential evidentiary disputes, it

20   may need more than the ten depositions it requested.2 This assertion is ludicrous. The

21   1
       The government has proposed taking the deposition of only one non-party witness,
22   which it only did a week before the call with the Court on January 31st.
     2
       The government only notified Defendants that it believed it might want to take 13 or
23   14 depositions in this matter when the parties conferred a mere matter of minutes
     before the call to the Court clerk on January 31st and, Defense counsel indicated they
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                                                 3
     CO-PERSONAL REPRESENTATIVES’ RESPONSE TO UNITED STATES’ MOTION TO USE DEPOSITIONS
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1    individuals identified in Defendant’s initial Fed. R. Civ. P. 26(a)(1) disclosures have
2    been known to the government for almost 15 years.3

3            Before the government requests even more depositions, it would be well-served

4    to try to take the depositions it has been allotted. The contingent possibility that the

5    government might want to depose someone and might not be able to without a

6    modification of the presumptive limits does not justify granting the advisory relief

7    requested here. Instead, faced with a dilemma it has in common with every single civil

8    litigant in federal court, the government can exercise its own judgment in building its

9    case.

10      3.      The factual predicates for the Motion are not true.

11           Finally, the government asserts its requested relief is consistent with Fed. R. Civ.

12   P. 32(a)(8) because this action involves the same parties and subject matter as the prior

13   actions. (Mot. at 6–10). These assertions are unsound. Indeed, the government’s blanket

14   assertion in this motion that the instant case involves the same issues as the Alter Ego

15   Action contradicts its assertions elsewhere that the alter-ego determinations are no

16   longer at issue (see United States’ Motion for Protective Order Regarding Discovery

17   Pertaining to the Determination that Robert A. Politte and Joan M. Politte are Alter Egos

18   of RAJMP, Inc., ECF No. 211), that the claims in this action “do not ‘logically relate’

19   to the claims at issue in the alter ego case” (Response to Joan Politte’s Motion for

20   Summary Judgment, p. 4, PageID.1114, ECF No. 122), and that Defendants “could not[]

21   were amenable to discussing modifications to the Rule 30 limits to allow 13 or 14
     depositions for both sides.
22   3
       Indeed, the government identified a majority of the same persons identified by
23   Defendants in this case in the government’s own disclosures in the Alter Ego Action in
     which the government listed 37 potential witnesses (more than the 31 the Defendants
24   listed which the government is now complaining about), none of which were experts.
                                                 4
     CO-PERSONAL REPRESENTATIVES’ RESPONSE TO UNITED STATES’ MOTION TO USE DEPOSITIONS
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1    challenge the underlying tax liabilities themselves” in the previous action (id. at p. 3,
2    PageID.1113).

3          With respect to the TFRP Action, the government’s blanket assertion contradicts

4    the pleadings and other documents filed by and positions asserted by the government in
5    the TFRP Action. For instance, the government admitted to allegations in the operating

6    complaints in the TFRP Action that the TFRP Action involves claims brought relative

7    to assessments made against Robert Politte and Joan Politte under 26 U.S.C. § 6672 (see,
8    e.g., United States’ Answer to First Amended Complaint Filed by Robert Politte and

9    Counterclaim Complaint, pp. 1-2, TFRP Action, ECF No. 26), and asserted that its

10   counterclaim in that action was made to reduce to judgment assessments made pursuant
11   to 26 U.S.C. § 6672 (see id. at p. 9; see also Proposed Scheduling Order, p. 6, TFRP

12   Action, ECF. No. 27 (government states that its claims and defenses in the TFRP Action

13   concerns “federal tax assessments . . . against Robert Politte and Joan Politte pursuant
14   to 26 U.S.C. § 6672”)), whereas in the present case the government is seeking to reduce

15   assessments made against RAJMP (and not Robert Politte or Joan Politte) to judgment

16   pursuant to completely different sections of the Internal Revenue Code to judgment (see
17   First Amended Complaint, p. 32, PageID.636, ECF No. 79).

18                                      CONCLUSION

19         WHEREFORE, this Court should DENY the United States’ Motion to Use

20   Depositions from Prior Actions as if Taken in This Action.

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     CO-PERSONAL REPRESENTATIVES’ RESPONSE TO UNITED STATES’ MOTION TO USE DEPOSITIONS
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1          Respectfully submitted this 14th day of February, 2020.
2
                                                /s/ Kelly M. Politte
3                                               Kelly M. Politte, pro hac vice
4                                               Politte Law Offices, LLC
                                                700 N. Colorado Blvd., #182
5                                               Denver, CO 80206
                                                Tel: (303) 261-8044
6                                               Email: kpolitte@polittelaw.com
7
                                                Attorney for Kelly M. Politte as the
8                                               Personal Representative of the Estate of
                                                Robert A. Politte and Ted R. Politte as the
9                                               Personal Representative of the Estate of
                                                Robert A. Politte
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     CO-PERSONAL REPRESENTATIVES’ RESPONSE TO UNITED STATES’ MOTION TO USE DEPOSITIONS
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                              CERTIFICATE OF SERVICE
1
     IT IS HEREBY CERTIFIED that service of the RESPONSE TO UNITED STATES’
2    MOTION TO USE DEPOSITIONS FROM PRIOR ACTIONS AS IF TAKEN IN
     THIS ACTION BY DEFENDANTS KELLY M. POLITTE AS PERSONAL
3    REPRESENTATIVE OF THE ESTATE OF ROBERT A. POLITTE AND TED
     R. POLITTE AS THE PERSONAL REPRESENTATIVE OF THE ESTATE OF
4    ROBERT A. POLITTE has been made this 14th day of February, 2020, via the
     Court’s CM/ECF system to:
5
           Jeremy N Hendon
6          U.S. Department of Justice, Tax Division
           P.O. Box 683
7          Ben Franklin Station
           Washington, DC 20044
8
           Tel: (202)353-2466
9          Fax: (202)307-0054
           Email: jeremy.hendon@usdoj.gov
10
           Christian Mejia
11         U.S. Department of Justice, Tax Division
           P.O. Box 683
12         Ben Franklin Station
           Washington, DC 20044
13         Tel: (202) 305-7548
           Fax: (202) 307-0054
14         Email: Christian.Mejia@usdoj.gov
15         James Petrila
16         U.S. Department of Justice, Tax Division
           P.O. Box 683
17         Ben Franklin Station
           Washington, DC 20044
18         Tel: (202) 307-6648
           Fax: (202) 307-0054
19         Email: james.petrila@usdoj.gov

20         Larry D. Harvey
           Larry D. Harvey PC
21         5290 DTC Parkway, Ste. 150
           Englewood, CO 80111
22         Tel: (303) 220-7810
           Fax: (303) 850-7115
23
           Email: lharvey@ldhpc.com
24

     CERTIFICATE OF SERVICE                                       17cv00515-AJB-WVG
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           Robert A. McGuire
1          Robert McGuire Law Firm
           113 Cherry Street PMB 86685
2          Seattle, WA 98104
3          Tel/Fax: (253) 267-8530
           E-mail: ram@lawram.com
4
           David K Eldan
5          Parker Milliken Clark O'Hara & Samuelian
           55 S Flower St 30th Fl
6          Los Angeles, CA 90071
           Tel: (213) 683-6500 x520
7          Fax: (213) 683-6669
           Email: deldan@pmcos.com
8
           Brian David Shaffer
9          Miller Starr Regalia
           1331 North California Boulevard
10
           Walnut Creek, CA 94596
11         Tel: (925) 935-9400
           Fax: (925) 933-4126
12         Email: brian.shaffer@msrlegal.com

13         Walter J. De Lorrell, III
           Office of County Counsel, County of San Diego
14         1600 Pacific Highway, Room 355
           San Diego, CA 92101
15         Tel: (619) 531-6295
           Fax: (619) 531-6005
16         Email: walter.delorrell@sdcounty.ca.gov
17         Edward Otho Crosap Ord
18         Ord & Norman
           233 Sansome Street, Suite 1111
19         San Francisco, CA 94104
           Tel: (415) 274-3800
20         Fax: (415) 274-3838
           Email: ord@ordnorman.com
21

22
23

24

     CERTIFICATE OF SERVICE                                       17cv00515-AJB-WVG
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           Cheng Zhang
1          Ord & Norman
           233 Sansome Street, Suite 1111
2          San Francisco, CA 94104
3          Tel: (415) 274-3800
           Fax: (415) 274-3838
4          Email: cheng@ordnorman.com

5

6                                           /s/ Kelly M. Politte
                                            Kelly M. Politte
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     CERTIFICATE OF SERVICE                                        17cv00515-AJB-WVG
